Case 4:09-cr-00043-SPF Document 52-1 Filed in USDC ND/OK on 05/15/09 Page 1 of 3




    IRS Notice of Proposed Rulemaking (REG-118886-06) Clarifying
    Section 6411 Regulations by Cross-Reference to Temporary Regulations
    (T.D. 9355)

    Section 6411
    Section 6402

                             These rules are scheduled to be published in the Federal Register dated
                             Aug. 27, 2007.
    DEPARTMENT OF THE TREASURY

    Internal Revenue Service

    26 CFR Part 1

    [REG-118886-06]

    RIN 1545-BF65

    Clarification to Section 6411 Regulations

    AGENCY: Internal Revenue Service (IRS), Treasury.

    ACTION: Notice of proposed rulemaking by cross-reference to temporary regulations.

    SUMMARY: In the Rules and Regulations section of this issue of the Federal Register, the IRS
    is issuing temporary regulations relating to the computation and allowance of the tentative
    carryback adjustment under section 6411 of the Internal Revenue Code. Those temporary
    regulations clarify that for purposes of allowing the tentative adjustment, the IRS may credit or
    reduce the tentative adjustment by an assessed tax liability, whether or not that tax liability was
    assessed before the date the application for tentative carryback is filed, and other unassessed
    liabilities in certain other circumstances. Those regulations also remove all references to IRS
    district director or service center director, as these positions no longer exist within the IRS. The
    offices of the district director and service center director were eliminated by the IRS
    reorganization implemented pursuant to the IRS Reform and Restructuring Act of 1998. The text
    of the temporary regulations serves as the text of these proposed regulations.

    DATES: Written and electronic comments and requests for a public hearing must be received by
    November 26, 2007.

    ADDRESSES: Send submissions to: CC:PA:LPD:PR (REG-118886-06), room 5203, Internal
    Revenue Service, PO Box 7604, Ben Franklin Station, Washington, DC 20044. Submissions may
    be hand-delivered Monday through Friday between the hours of 8 a.m. and 4 p.m. to
    CC:PA:LPD:PR (REG-118886-06), Courier's Desk, Internal Revenue Service, 1111 Constitution
    Avenue, NW., Washington, DC, or sent electronically via the Federal eRulemaking Portal at
    www.regulations.gov (IRS REG-118886-06).

    FOR FURTHER INFORMATION CONTACT: Concerning the proposed regulations, Cynthia A.
    McGreevy, (202) 622-4910; concerning submissions of comments, Richard Hurst, (202) 622-
    7180 (not toll-free numbers).

    SUPPLEMENTARY INFORMATION:
Case 4:09-cr-00043-SPF Document 52-1 Filed in USDC ND/OK on 05/15/09 Page 2 of 3



    Background and Explanation of Provisions

    These proposed regulations clarify the Income Tax Regulations (26 CFR part 1) under section
    6411 relating to the computation and allowance of the tentative carryback adjustment. The
    tentative allowance is computed pursuant to §1.6411-2 but applied pursuant to §1.6411-3. These
    regulations clarify that for purposes of computing the allowance, the Commissioner will not
    consider amounts to which the taxpayer and the Commissioner are in disagreement. For
    purposes of applying the allowance, however, the Commissioner may credit or reduce the
    tentative adjustment by any assessed tax liabilities, unassessed liabilities determined in a
    statutory notice of deficiency, unassessed liabilities identified in a proof of claim filed in a
    bankruptcy proceeding, and other unassessed liabilities in rare and unusual circumstances.
    Regarding unassessed liabilities determined in a statutory notice of deficiency, see Rev. Rul.
    2007-51. Regarding unassessed liabilities identified in a proof of claim filed in a bankruptcy
    proceeding, see Rev. Rul. 2007-52. See §601.601(d)(2). The IRS plans to adopt procedures
    requiring IRS National Office review prior to a credit or reduction of the tentative adjustment by an
    unassessed liability that constitutes a rare and unusual circumstance.

    In the Rules and Regulations section of this issue of the Federal Register, the IRS is issuing
    temporary regulations relating to the computation and allowance of the tentative carryback
    adjustment under section 6411 of the Internal Revenue Code. The text of those temporary
    regulations also serves as the text of these proposed regulations. The preamble to the temporary
    regulations explains the temporary regulations and these proposed regulations.

    Proposed Effective Date

    These proposed amendments to §§1.6411-2 and 1.6411-3 apply with respect to applications for
    tentative refund filed on or after the date these rules are published as final regulations in the
    Federal Register. No implication is intended concerning whether or not a rule to be adopted in
    these regulations is applicable law for applications filed prior to that date.

    Special Analyses

    It has been determined that this notice of proposed rulemaking is not a significant regulatory
    action as defined in Executive Order 12866. Therefore, a regulatory assessment is not required. It
    also has been determined that section 553(b) of the Administrative Procedure Act (5 U.S.C.
    chapter 5) does not apply to these regulations, and because these regulations do not impose a
    collection of information on small entities, the provisions of the Regulatory Flexibility Act (5 U.S.C.
    chapter 6) do not apply. Pursuant to section 7805(f) of the Internal Revenue Code, these
    regulations have been submitted to the Chief Counsel for Advocacy of the Small Business
    Administration for comment on their impact on small business.

    Comments and Requests for a Public Hearing

    Before these proposed regulations are adopted as final regulations, consideration will be given to
    any electronic and written comments (a signed original and eight (8) copies) that are submitted
    timely to the IRS. The IRS and Treasury Department specifically request comments on the clarity
    of the proposed regulations and how they can be made easier to understand. All comments will
    be available for public inspection and copying. A public hearing may be scheduled if requested in
    writing by a person who timely submits comments. If a public hearing is scheduled, notice of the
    date, time, and place for the hearing will be published in the Federal Register.

    Drafting Information

    The principal author of these regulations is Cynthia A. McGreevy of the Office of the Associate
    Chief Counsel (Procedure and Administration).

    List of Subjects in 26 CFR Part 1
Case 4:09-cr-00043-SPF Document 52-1 Filed in USDC ND/OK on 05/15/09 Page 3 of 3



    Income taxes, Reporting and recordkeeping requirements.

    Proposed Amendments to the Regulations

    Accordingly, 26 CFR part 1 is proposed to be amended as follows:

    PART 1--INCOME TAXES

    Paragraph 1. The authority citation for part 1 continues to read in part as follows:

    Authority: 26 U.S.C. 7805 * * *

    Par. 2. Section 1.6411-2 is revised to read as follows:

    §1.6411-2 Computation of tentative carryback adjustment.

    (a) [The text of proposed §1.6411-2(a) is the same as the text of §1.6411-2T(a) published
    elsewhere in this issue of the Federal Register].

    (b) [The text of proposed §1.6411-2(b) is the same as the text of §1.6411-2T(b) published
    elsewhere in this issue of the Federal Register].

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    Par. 3. Section 1.6411-3 is revised to read as follows:

    §1.6411-3 Allowance of adjustments.

    (a) [The text of proposed §1.6411-3(a) is the same as the text of §1.6411-3T (a) published
    elsewhere in this issue of the Federal Register].

    (b) [The text of proposed §1.6411-3(b) is the same as the text of §1.6411-3T (b) published
    elsewhere in this issue of the Federal Register].

    (c) [The text of proposed §1.6411-3(c) is the same as the text of §1.6411-3T (c) published
    elsewhere in this issue of the Federal Register].

    (d) [The text of proposed §1.6411-3(d) is the same as the text of §1.6411-3T (d) published
    elsewhere in this issue of the Federal Register].

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                                              Kevin M. Brown,

                                  Deputy Commissioner for Services and
                                            Enforcement.
